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                              UNITED STATES OF AMERICA
                            EASTERN DISTRICT OF MICHIGAN



  UNITED STATES OF AMERICA,

                      Plaintiff,

  vs.                                             Criminal Case No. 11-CR-20551-14
                                                  Civil Case No.    15-CV-14207
  WALEED YAGHMOUR,

                  Defendant.
  _______________________________/

                          NOTICE AND ORDER FOR RESPONSE

        The Defendant has filed a “Motion to Vacate Sentence under 28:USC:2255" on

  on December 1, 2015.

               IT IS HEREBY ORDERED that the Government is to file a response and

  brief to the “Motions to Vacate, ...” by January 22, 2016. The reply, if any, is to be

  filed by February 22, 2016.

                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE

  Dated: December 8, 2015


  I hereby certify that a copy of the foregoing document was mailed to counsel and pro se
  parties of record on this date, December 8, 2015, by electronic and/or ordinary mail.

                                            S/Lisa Wagner
                                           Case Manager and Deputy Clerk
                                           (313) 234-5522
